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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

                                                          )
UNITED STATES OF AMERICA                                  )      JUDGMENT IN A CRIMINAL CASE
                                                          )
v.                                                               Case Number: 1:21-CR-00310-SDG-1
                                                          )      USM Number: 56622-509
DAWUAN NA'JEE WILLIAMS                                    )
                                                          )      KENDAL D. SILAS
                                                          )      Defendant’s Attorney


THE DEFENDANT:

The defendant pleaded guilty to count 2 of the Indictment.

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                        Offense Ended        Count

18 U.S.C. § 922(a)(6)                False Statement to a Licensed            05/10/2021              2
                                     Firearms Dealer

All remaining counts in the above-styled case still pending against defendant shall be dismissed pursuant to the
plea agreement.

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
Attorney of material changes in economic circumstances.


                                                         June 6, 2022
                                                         Date of Imposition of Judgment


                                                         Signature of Judge

                                                         STEVEN D. GRIMBERG, U. S. DISTRICT JUDGE
                                                         Name and Title of Judge

                                                            June 6, 2022
                                                         Date
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DEFENDANT: DAWUAN NA'JEE WILLIAMS
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Judgment in a Criminal Case
Sheet 2 -- Imprisonment

                                               IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of: 120 Months

The court makes the following recommendations:
   a) that the defendant be evaluated for participation in the Bureau of Prison’s Residential Drug Abuse
       Program (RDAP)
   b) that the defendant be designated to FMC Butner

The defendant is remanded to the custody of the United States Marshal.




                                                    RETURN

I have executed this judgment as follows:




 Defendant delivered on                                     to

 at                                         , with a certified copy of this judgment.



                                                                           UNITED STATES MARSHAL




                                                                       DEPUTY UNITED STATES MARSHAL
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Judgment in a Criminal Case
Sheet 3 -- Supervised Release

                                           SUPERVISED RELEASE

         Upon release from imprisonment, you will be on supervised release for a term of: 3 years


                                                 FORFEITURE

        Forfeiture of the defendant’s right, title and interest in certain property is hereby ordered consistent with
the plea agreement or by separate order.



                                         MANDATORY CONDITIONS


1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within
   15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
   court.
4. You must cooperate in the collection of DNA as directed by the probation officer.

You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.
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DEFENDANT: DAWUAN NA'JEE WILLIAMS
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                                      STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

   1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
         release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
         time frame.
   2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
         and when you must report to the probation officer, and you must report to the probation officer as instructed.
   3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
         from the court or the probation officer.
   4.    You must answer truthfully the questions asked by your probation officer.
   5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
         arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
         notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
         officer within 72 hours of becoming aware of a change or expected change.
   6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
         officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
   7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
         from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
         excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your
         job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer
         at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
         hours of becoming aware of a change or expected change.
   8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
         convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
         the probation officer.
   9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
         nunchakus or tasers).
   11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
         without first getting the permission of the court.
   12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
         require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
         the person and confirm that you have notified the person about the risk.
   13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov

I understand that a violation of any of these conditions of supervised release may result in modification, extension, or revocation of my
term of supervision.


 Defendant's Signature                                                      Date

 USPO's Signature                                                           Date
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DEFENDANT: DAWUAN NA'JEE WILLIAMS
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                                SPECIAL CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following special conditions of supervision.

You must participate in an alcohol and / or other substance abuse treatment program and follow the rules and
regulations of that program. The probation officer will supervise your participation in the program (provider,
location, modality, duration, intensity, etc.) You must pay all or part of the costs of the program based on your
ability to pay unless excused by the probation officer.

You must participate in a mental health treatment program and follow the rules and regulations of that program.
Such program may require that you submit to an evaluation and / or testing. The probation officer, in consultation
with the treatment provider, will supervise your participation in the program (provider, location, modality,
duration, intensity, etc.). You must pay all or part of the costs of the program based on your ability to pay unless
excused by the probation officer.

You must take all mental health medication prescribed by your treating provider. You must pay for all or part of
the costs of medication based on your ability to pay unless excused by the probation officer.

You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted
by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release.
You must warn any other occupants that the premises may be subject to searches pursuant to this condition. An
officer may conduct a search pursuant to this condition only when reasonable suspicion exists that you violated a
condition of your supervision and that areas to be searched contain evidence of this violation. Any search must
be conducted at a reasonable time and in a reasonable manner.

You must permit confiscation and/or disposal of any material considered to be contraband or any other item which
may be deemed to have evidentiary value of violations of supervision.
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DEFENDANT: DAWUAN NA'JEE WILLIAMS
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Judgment in a Criminal Case
Sheet 5 -- Criminal Monetary Penalties

                                         CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                   Special Assessment

TOTAL              $100.00

The Court finds that the defendant does not have the ability to pay a fine and cost of incarceration. The Court
waives the fine and cost of incarceration in this case.

                   Fine

TOTAL              $0




*Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
**Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
***Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
